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   Extended Stay America Somerset-Franklin

BY:    KERRI E. CHEWNING, ESQUIRE

                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

 DEBORAH LAUFER,
                                                 Case No. 3:20-cv-09193(FLW)
        Plaintiff,

 vs.                                             Electronically Filed

 EXTENDED STAY AMERICA SOMERSET
 – FRANKLIN, A Maryland Corporation,

        Defendant.

                            NOTICE OF MOTION TO DISMISS



       Please take notice that on October 5, 2020, or as soon thereafter as counsel may be heard,

Defendant, Extended Stay America Somerset-Franklin, shall move before the Court for an Order

dismissing Plaintiff’s Complaint. In support of said motion, Defendant shall rely upon the

attached Memorandum of Law and Certification with attached exhibits of Kerri E. Chewning,

Esquire. A proposed form of order and Certificate of Service are also enclosed.

                                                    ARCHER & GREINER, P.C.
                                                    Attorneys for Defendant
                                                       Extended Stay America


                                                    By:
                                                          KERRI E. CHEWNING, ESQUIRE
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                                        Pro Hac Vice Motion to be filed
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